Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 1 of 6 PageID# 334



                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

                                                      )
    JAMES GHAISAR, et al.,                            )
                                                      )
          Plaintiffs,                                 )
                                                      )
          v.                                          ) Civil Action No. 1:19-cv-1224
                                                      ) (CMH/IDD)
    UNITED STATES OF AMERICA,                         )
                                                      )
          Defendant.                                  )
                                                      )
                                                      )

                AMENDED JOINT STIPULATION OF UNCONTESTED FACTS

         The parties stipulate to the following uncontested facts, amended to correct a

typographical error in a page number in the prior filing.1 Stipulation as to the authenticity of a

document or record does not constitute an admission as to the admissibility of that document or

record, nor does it waive any party’s objections to the admissibility of the document or record on

any ground other than authenticity.

         1. The speed limit on the George Washington Parkway southbound at Reagan National

               Airport is 40 mph.

         2. The speed limit on the George Washington Parkway southbound remains 40 mph

               from Reagan National Airport until it changes from 40 mph to 30 mph just south of

               the intersection with Slater’s Lane.




1
 The parties remain in discussion regarding at least one additional potential stipulation, which
may require an addendum to this filing.
Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 2 of 6 PageID# 335



      3. The speed limit on the George Washington Parkway southbound remains 30 mph

         from just south of Slater’s Lane until just south the intersection with Powhatan Street,

         at which point it changes from 30 mph to 25 mph

      4. The speed limit on the George Washington Parkway southbound remains 25 mph

         from just south of the intersection with Powhatan Street until south of Belle Haven

         Road, but north of Belle View Boulevard, at which point it changes from 25 mph to

         35 mph.

      5. The speed limit on the George Washington Parkway southbound remains 35 mph

         south of Belle Haven Road until Tulane Drive, at which point it changes from 35 mph

         to 45 mph.

      6. The speed limit on Alexandria Avenue between West Boulevard and Fort Hunt Road

         is 25 mph.

      7. The marijuana and pipe recovered from the interior of Bijan Ghaisar’s jeep on the

         night of November 17, 2017 (including the early hours of November 18, 2017) is the

         same marijuana and pipe that were tested by the DEA laboratory, with chain of

         custody fully maintained.

      8. The DEA forensic analysis of the marijuana and pipe collected from the interior of

         Bijan Ghaisar’s jeep on the night of November 17, 2017 (including the early hours of

         November 18, 2018) produced at US-00003552 to US-3555 is a true and accurate

         copy of the report of the DEA’s forensic analysis of those materials.

      9. Certificate of Analysis of the Commonwealth of Virginia Department of Forensic

         Science produced at US-00003009 to US-00003010 is a true and accurate copy of the

         toxicological analysis of Bijan Ghaisar’s blood drawn on 11/17/17 at 20:16.



                                              2
Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 3 of 6 PageID# 336



      10. The Report of Autopsy of the Commonwealth of Virginia Office of the Chief Medical

         Examiner produced at US-00005411 to US-00005434 is a true and accurate copy of

         the official autopsy of Bijan Ghaisar.

      11. The medical records of Inova Fairfax produced at US-00007109 to US-00008557 are

         a true and accurate copy of the medical records of Bijan Ghaisar from Inova Fairfax

         from 11/17/17 through 11/27/17.

      12. The medical records of Virginia Commonwealth University produced at Ghaisar_US-

         002576 through Ghaisar_US-002625 are a true and accurate copy of the medical

         records of Bijan Ghaisar from VCU.

      13. The medical records of Dr. Evan Jacobson produced at Ghaiar_US-002325 to

         Ghaisar_US-002546 are a true and accurate copy of the medical records of Bijan

         Ghaisar from Dr. Evan Jacobson.

      14. The audio recording of the emergency dispatch of Arlington produced at

         Ghaisar_US-001116 is a true and accurate copy of that dispatch.

      15. The audio recording of the emergency dispatch of the US Park Police produced at

         US-00006797 is a true and accurate copy of that dispatch.

      16. The audio recording of the US Park Police radio run produced at US-00000752 is a

         true and accurate copy of that radio run.

      17. The audio recording of the Fairfax County Police Department radio run produced at

         US-00010165 is a true and accurate copy of that radio run.

      18. The enhanced video recordings produced at US-00009495 through US-00009502,

         US-00009614 through US-00009625 and US-000011274 are true and accurate




                                              3
Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 4 of 6 PageID# 337



         enhanced copies of the video from Fairfax County Police Lt. Gohn’s police cruiser

         the evening of November 17, 2017.

      19. The autopsy report produced at Ghaisar_US_002628 through Ghaiar_US_004640 is a

         true and accurate copy of the autopsy report of Dr. S. Chittenden for Bijan Ghaisar.

      20. The medical records of Inova Fairfax produced at Ghaisar_US_000903 are a true and

         accurate copy of the medical records of Bijan Ghaisar from Inova Fairfax from

         11/17/17 through 11/27/17.

      21. The summaries of the FBI interviews produced at US-00001305 through US-

         00005576 are true and accurate copies of the FBI’s summaries of those interviews.

      22. The Department of the Interior Investigator’s Traffic Crash Report produced at US-

         00001039 through US-00001042 is a true and accurate copy of the Department of the

         Interior’s Traffic Crash Report of the accident that occurred the evening of November

         17, 2017.

      23. The General Order 2205 produced at US-00011666 through US-00011674 is a true

         and accurate copy of the United States Park Police’s General Order on Vehicular

         Pursuits in effect on November 17, 2017, with redlines.

      24. The General Order 3615 produced at US-00000030 through US-00000033 is a true

         and accurate copy of the United States Park Police’s General Order on Use of Force

         in effect on November 17, 2017.

      25. The email correspondence produced at AV000022 is a true and accurate copy of that

         email correspondence.

      26. The email correspondence produced at US-00018461 is a true and accurate copy of

         that email correspondence.



                                              4
Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 5 of 6 PageID# 338



      27. The memorandum produced at AV000020 is a true and accurate copy of that

         memorandum.

      28. The General Order 2205 produced at US-00000058 through US-00000066 is a true

         and accurate copy of the United States Park Police’s General Order on Vehicular

         Pursuits in effect on November 17, 2017.

      29. The records produced at US-00000754 through US-00000768 are true and accurate

         copies of a complaint made against Alejandro Amaya and investigation of that

         complaint in 2013.

      30. The records produced at US-00000769 through US-00000784 are true and accurate

         copies of a complaint made against Alejandro Amaya and investigation of that

         complaint in 2014.

      31. The records produced at US-00000817–US-00000832 are true and accurate copies of

         a complaint made against Alejandro Amaya and investigation of that complaint in

         2016.

      32. The IMARS Incident details produced at US-00001286 through US-00001289 is a

         true and accurate copy of the USPP IMARS incident details for the incident that

         occurred on November 17, 2017.

      33. The records produced at US-00000887–US-00000892 are true and accurate copies of

         a complaint made against Lucas Vinyard and investigation of that complaint in 2008.

      34. The records produced at US-00000924 through US-00000945 are true and accurate

         copies of a complaint made against Lucas Vinyard and investigation of that complaint

         in 2012.




                                             5
Case 1:19-cv-01224-CMH-IDD Document 50 Filed 08/20/20 Page 6 of 6 PageID# 339



       35. The records produced at US-00000946–US-00000963 are true and accurate copies of

           a complaint made against Lucas Vinyard and investigation of that complaint in 2013.

       36. The expert report of John Ryan, introduced as Exhibit 1 in the deposition of Mr.

           Ryan, is a true and accurate copy of Mr. Ryan’s expert report.

       37. The expert report of James Koch, introduced as Exhibit 1 in the deposition of Dr.

           Koch, is a true and accurate copy of Dr. Koch’s expert report.

       38. The curriculum vitae of James Koch, introduced as Exhibit 2 in the deposition of Dr.

           Koch, is a true and accurate copy of Dr. Koch’s curriculum vitae as of the date of the

           deposition.



Respectfully submitted,

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 Counsel for the United States

 DATE: August 20, 2020




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